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                         IN THE UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF HAWAI‘I

      AIMEE STINER,                                      Case No. 20-cv-00122-DKW-KJM

                     Plaintiff,
                                                         ORDER RE: LETTER TO THE
                                                         COURT1
             v.

      BANK OF AMERICA,

                     Defendant.



            On May 29, 2020, the Court received another letter from Plaintiff Aimee

  Stiner (Dkt. No. 9) that appears to seek further clarification of already clear orders

  of this Court. See Orders dated April 23, 2020 and May 21, 2020 at Dkt. Nos. 5

  and 8, respectively. Among other things, Stiner asks for this Court’s opinion on

  the fairness of the justice system, why the Equal Employment Opportunity

  Commission declined to take certain action, and the import of an August 15, 2016

  “Civil Pro Bono Ruling” that Stiner does not further identify. The Court declines

  to further address any of these topics because they are irrelevant to the task at

  hand, which is to evaluate Stiner’s application for in forma pauperis (IFP) status

  and to screen her complaint in accordance with Title 28.



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      Pursuant to Local Rule 7.1(c), the Court finds this matter suitable for decision without a hearing.
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        Additionally, Stiner asks for legal advice with regard to her claims and

  potential defendants. The Court is not Stiner’s personal attorney. Beyond the

  guidance already provided by the Court in its prior orders, the Court declines to

  address these subjects further.

        Stiner also appears to ask what motions are decided by the Court with and

  without a hearing. The Court refers Stiner to Local Rule 7.1. If she intends to

  litigate her claims in this Court, it would be advisable for Stiner to familiarize

  herself with this Court’s local rules, including Local Rule 7.1, all of which can be

  found on the Court’s website or obtained from the Clerk’s Office.

        Finally, Stiner complains that although this Court ordered her to serve

  summons’ on the parties, its instructions were “not very clear.” The Court is not

  aware of having provided any instructions regarding service to Stiner. Indeed,

  service is not yet appropriate until the Court’s screening of Stiner’s claims is

  complete.

        Prior orders of this Court have directed Stiner to file a complete IFP

  application and an amended complaint, consistent with the Court’s guidance, no

  later than June 5, 2020. The Court expects compliance with that deadline because

  the failure to comply may result in the automatic dismissal of this action without

  prejudice.


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        The Clerk’s Office is instructed to mail a copy of this Order to Stiner at the

  address of record.

        IT IS SO ORDERED.

        Dated: June 1, 2020 at Honolulu, Hawai‘i.




  Aimee Stiner v. Bank of America; Civil No. 20-00122 DKW-KJM; ORDER RE: LETTER TO
  THE COURT




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